NAY PWNS

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EXHIBIT D
ITEMIZATION OF COSTS

Expert Review for and authoring of 735 ILCS 6/2-622 Report
Clerk of the Circuit Court of Cook County (filing fee)

Sheriff of Cook County (service)

Sheriff of Winnebago County (service)

Rockies (copies of proof of service)

CIOX Health (medical records)

United States District Court (filing fee)

$1,600.00
$337.00
$120.00
$52.00
$2.50
$78.95

400.00

$2,590.45

PETITIONER'S

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